          Case 1:22-cr-00414-JEB Document 1-1 Filed 10/21/22 Page 1 of 8




                                    STATEMENT OF FACTS

        Your affiant, Dennis William Porter II, is a Task Force Officer (“TFO”) of the Federal
Bureau of Investigation (the “FBI”), assigned to the Tampa Field Office. As a Task Force Officer,
I am authorized by law or by a government agency to engage in or supervise the prevention,
detection, investigation, or prosecution of violations of Federal criminal laws. Currently, I am
assisting in the investigation of criminal activity in and around the United States Capitol on January
6, 2021.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the January 6, 2021 events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


                                                  1
          Case 1:22-cr-00414-JEB Document 1-1 Filed 10/21/22 Page 2 of 8




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       At approximately 4:15 p.m., rioters created a breach point through a window on the Lower
West Terrace of the Capitol. As described below, investigation has determined that ANDREW
PAUL JOHNSON (“JOHNSON”) unlawfully entered the Capitol through this broken window on
January 6, 2021.




                                  Figure 1 – Source: New York Times1

        Investigators from the FBI, including your Affiant, have identified JOHNSON through
the review of photographs and videos derived from social media from the U.S. Capitol on
January 6, 2021, body worn camera video from the D.C. Metropolitan Police Department
(MPD), JOHNSON’s booking photos with MPD2, and other investigative means.

       JOHNSON, as he appeared in images on January 6, 2021, is described as wearing tan
cargo pants, an olive drab jacket with a dark gray hoodie underneath displaying ‘HARVARD’ on




1
  Dmitriy Khavin et al., Day of Rage: How Trump Supporters Took the U.S. Capitol, N.Y. TIMES
(Jun. 30, 2021) https://www.nytimes.com/video/us/politics/100000007606996/capitol-riot-
trump-supporters.html.
2
  As discussed further below, after leaving the Capitol building on January 6, 2021, JOHNSON
was later arrested by the D.C. Metropolitan Police Department for violating the city-wide
curfew.
                                                  2
         Case 1:22-cr-00414-JEB Document 1-1 Filed 10/21/22 Page 3 of 8




the front. A red and white scarf around his neck and a black baseball hat displaying an ‘A’ turned
around backwards.3

       Figures 2, 3, and 4 show JOHNSON with an ‘A’ baseball cap turned around backwards in
an area assessed to be near the lower west terrace of the U.S. Capitol and in the vicinity of where
JOHNSON is determined to have entered the building.




            Figure 2 – JOHNSON with Mauricio Mendez outside the Capitol4 - Lower West Terrace




                          Figure 3 – JOHNSON outside the Capitol – Lower West Terrace

3
  The referenced ‘A’ symbol appears to be the emblem for the Atlanta Braves, Major League
Baseball team.
4
  JOHNSON, as discussed below, was later arrested and charged with a violation of the city-wide
curfew with a separately apprehended suspect, Mauricio Mendez, depicted in Figure 2.
                                                   3
  Case 1:22-cr-00414-JEB Document 1-1 Filed 10/21/22 Page 4 of 8




                   Figure 4 – JOHNSON indicated by the red circle

Figures 5 and 6 depict JOHNSON entering the Capitol through a broken window.




                 Figures 5 and 6 – JOHSNON entering the U.S. Capitol

Figure 7 depicts JOHNSON inside an area of the U.S. Capitol believed to be “ST-2M”.




                    Figure 7 – JOHSNON inside of the U.S. Capitol




                                         4
         Case 1:22-cr-00414-JEB Document 1-1 Filed 10/21/22 Page 5 of 8




                             Figure 8 – JOHNSON inside the U.S. Capitol

       Figures 9 and 10 are still frames from a recording located on a recovered device
belonging to another subject present at the U.S. Capitol on January 6, 2021. The images depict
JOHNSON exiting the Capitol building from the same broken window through which he entered.




                               Figures 9 and 10 – JOHNSON exiting the Capitol

        At around 2:30 p.m., D.C. Mayor Muriel Bowser announced a 12-hour curfew would take
effect starting at 6:00 p.m. At approximately 7:15 p.m., JOHNSON was arrested in vicinity of the
U.S. Capitol by D.C. Metropolitan Police Department Officer J.F. and charged with violating the


                                                 5
        Case 1:22-cr-00414-JEB Document 1-1 Filed 10/21/22 Page 6 of 8




city-wide curfew. Below are images of JOHNSON from his arrest and booking for the curfew
violation.




                       Figure 11 – JOHNSON on ABC News outside the U.S. Capitol




                        Figure 12 – JOHNSON confronting D.C. Metro Police




                        Figure 13 – Officer J.F. body-worn camera (BWC)




                                               6
          Case 1:22-cr-00414-JEB Document 1-1 Filed 10/21/22 Page 7 of 8




            Figure 14 – JOHNSON Booking Photo from curfew violation arrest on January 6, 2021.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
JOHNSON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that JOHNSON violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress and (G) to willfully and knowingly
parade, demonstrate, or picket in any of the Capitol Buildings.




                                                    7
         Case 1:22-cr-00414-JEB Document 1-1 Filed 10/21/22 Page 8 of 8




                                                         Respectfully Submitted


                                                        _____________________________
                                                        Dennis William Porter II
                                                        Task Force Officer
                                                        Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21 day of October 2022.                                  2022.10.21
                                                                    13:40:03
                                                                    -04'00'
                                                ___________________________________
                                                HONORABLE ROBIN M. MERIWEATHER
                                                UNITED STATES MAGISTRATE JUDGE




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